DATE: March 3, 2020


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Linda Kaye Nelson, s/k/a
              Linda Lay Nelson, s/k/a
              Linda Kay Nelson
             v. Commonwealth of Virginia
             Record No. 0242-19-3
             Opinion rendered by Judge Petty on
              January 7, 2020

          2. Roy Leeshun Williams
             v. Commonwealth of Virginia
             Record No. 0603-18-2
             Opinion rendered by Chief Judge Decker on
              January 14, 2020

          3. Cassandra Marcelle Murray
             v. Commonwealth of Virginia
             Record No. 1226-18-1
             Opinion rendered by Judge Humphreys on
              January 14, 2020

          4. Merck &amp; Co., Inc.
             v. Merrick B. Vincent
             Record No. 0424-19-1
             Opinion rendered by Judge Huff on
              January 14, 2020
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Calvin Darnell Butcher
   v. Commonwealth of Virginia
   Record No. 0974-16-2
   Opinion rendered by Judge Russell
    on November 6, 2018
   Judgment of Court of Appeals affirmed; portion of opinion addressing
     conjunctive/disjunctive interpretations of Code § 46.2-894 vacated by opinion
     rendered on February 27, 2020 (181608)

2. Justin Godfrey Fahringer
    v. Commonwealth of Virginia
   Record No. 0370-18-3
    Opinion rendered by Judge Chafin
     on April 30, 2019
    Dismissed pursuant to Rule 5:17(c)(1)(iii) (190696)
       The Supreme Court issued opinions in the following cases, which had been appealed from
this Court:

    1. Sarah Elizabeth Flanders
       v. Commonwealth of Virginia
       Record No. 0486-17-1
       Memorandum opinion rendered by Retired Judge Bumgardner on July 10, 2018
       Judgment of Court of Appeals affirmed by opinion rendered on February 13, 2020
       (181228)

    2. Jermica Shondal Taylor
        v. Commonwealth of Virginia
        Record No. 1855-17-1
        Memorandum opinion rendered by Judge Huff on December 4, 2018
        Judgment of Court of Appeals affirmed by opinion rendered on February 6, 2020
        (181684)
